Case 3:10-cr-03008-MWB-LTS   Document 223   Filed 06/30/14   Page 1 of 6
Case 3:10-cr-03008-MWB-LTS   Document 223   Filed 06/30/14   Page 2 of 6
Case 3:10-cr-03008-MWB-LTS   Document 223   Filed 06/30/14   Page 3 of 6
Case 3:10-cr-03008-MWB-LTS   Document 223   Filed 06/30/14   Page 4 of 6
Case 3:10-cr-03008-MWB-LTS   Document 223   Filed 06/30/14   Page 5 of 6
Case 3:10-cr-03008-MWB-LTS   Document 223   Filed 06/30/14   Page 6 of 6
